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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

             v.                                     Case No. 21-cr-328-TSC

 ROBERT SCOTT PALMER,

                  Defendant.

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Robert Scott Palmer to 63 months’ incarceration, three years of supervised release,

$2,000 in restitution, and the mandatory $100 special assessment.

   I.      INTRODUCTION

        Palmer participated in the January 6, 2021 Capitol riot, a violent attack on the United States

Capitol that forced an interruption of the certification of the 2020 Electoral College vote count,

threatened the peaceful transfer of power after the 2020 Presidential election, injured more than

one hundred law enforcement officers, and resulted in more than a million dollars’ worth of

property damage. Palmer directly contributed to that violence. After watching other rioters

repeatedly assaulting the officers defending the Lower West Terrace entrance to the Capitol – a

scene that horrified the rest of the world – Palmer chose to join in. Palmer made his way to the

front line of the rioters and proceeded to attack the officers. Palmer first threw a wooden plank

at the officers. He then sprayed the contents of a fire extinguisher at the officers, and when it was

empty, hurled it at the officers. Palmer then rooted around for additional materials with which to
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assault the police, including throwing the fire extinguisher a second time. At this time, after his

assaults had occurred, Palmer was pepper sprayed by law enforcement.

       But the pepper spray only deterred Palmer for a short while. A few minutes later, on the

West Plaza, Palmer assaulted another group of law enforcement officers with a 4-5 foot pole. As

he threw the pole like a spear at the officers, one of them fired a non-lethal projectile at Palmer,

hitting him in the abdomen. Palmer retreated and lay on the ground for a few minutes. When he

got up, Palmer showed off his injury to the crowd, shouting falsely that he had been shot merely

for yelling at the police, when in fact he had provoked the injury by his own assault. Thereafter,

in statements to a reporter, Palmer admitted that his goal was to subvert a democratic election and

that he hoped for military intervention to overturn the election in order to keep the losing candidate

in power.

       Defendant’s repeated violent assaults on law enforcement for the purpose of overturning a

democratic election warrant a significant term of imprisonment.

       Moreover, after his guilty plea, Palmer posted a public statement on the Internet falsely

claiming that his actions on January 6 were purely defensive, and falsely claiming that his assaults

on law enforcement were a reaction to – rather than the cause of – him being tear gassed and shot

with a non-lethal projectile. Palmer’s post-plea falsehoods demonstrate a lack of remorse and are

inconsistent with an acceptance of responsibility.

       At the same time, the government recognizes that unlike other Capitol defendants, Palmer

pled guilty relatively early, turned himself into law enforcement, and voluntarily met with the FBI

to provide truthful information.     Accordingly, the government recommends that the Court

sentence Palmer to 63 months in custody, at the low end of the Sentencing Guideline range as


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calculated by the U.S. Probation Office and as contemplated in the parties’ plea agreement. A

63-month sentence reflects the gravity of Palmer’s conduct, his lack of remorse, and the need to

deter Palmer and others from similar conduct in the future, while at the same time recognizing

Palmer’s early decision to plead guilty and avoid the need for a trial.

   II.      FACTUAL AND PROCEDURAL BACKGROUND

         A. The January 6, 2021, Attack on the Capitol

         On January 6, 2021, several hundred rioters, Palmer among them, attacked the U.S. Capitol

in an effort to disrupt the peaceful transfer of power after the November 3, 2020 Presidential

election. Many rioters attacked and injured law enforcement officers, sometimes with dangerous

weapons; they terrified congressional staff and others on scene that day, many of whom fled for

their safety; and they ransacked the place—vandalizing, damaging, and/or stealing artwork,

furniture, and other property. Although the facts and the circumstances surrounding the actions

of each rioter who breached the U.S. Capitol and its grounds differ, each rioter’s actions were

illegal and contributed, directly or indirectly, to the violence and destruction that day. See United

States v. Matthew Mazzocco, 21-cr-54 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the

numbers. The people who were committing those violent acts did so because they had the safety

of numbers.”) (statement of Judge Chutkan).

         The day started out calmly enough. As set forth in the PSR and the Statement of Offense

incorporated into Palmer’s plea agreement, a joint session of Congress had convened at

approximately 1:00 p.m. at the U.S. Capitol. Members of the House of Representatives and the

Senate were meeting in separate chambers to certify the vote count of the Electoral College of the

November 3, 2020 Presidential election. By approximately 1:30 p.m., the House and Senate


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adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was

present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued, and with Vice President Pence present and presiding over

the Senate, a large crowd gathered outside the U.S. Capitol. Temporary and permanent barricades

were in place around the exterior of the building, and U.S. Capitol Police were present and

attempting to keep the crowd away from the building and the proceedings underway inside. At

approximately 2:00 p.m., certain individuals unlawfully forced their way over the barricades and

past the officers, and the crowd advanced to the exterior of the building. Members of the crowd

did not submit to standard security screenings or weapons checks by security officials.

       The vote certification proceedings were still underway, and the exterior doors and windows

of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to keep the crowd from entering; however, shortly after 2:00 p.m., individuals in the

crowd forced their way in, breaking windows and assaulting law enforcement officers along the

way, while others in the crowd cheered them on.

       At approximately 2:20 p.m., members of the House of Representatives and the Senate,

including the President of the Senate, Vice President Pence, were instructed to—and did—

evacuate the chambers. All proceedings, including the joint session, were effectively suspended.

The proceedings resumed at approximately 8:00 p.m. after the building had been secured. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the session resumed. See Statement of Offense at ¶¶ 1-3; PSR at ¶¶ 10-16.




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    Attempted Breach of the Capitol Building and Assaultive Conduct in Tunnel Leading to the
                      doors of the West Front of the U.S. Capitol Building

         The fighting in the lower West Terrace tunnel was nothing short of brutal. Here, I
         observed approximately 30 police officers standing shoulder to shoulder, maybe
         four or five abreast, using the weight of their bodies to hold back the onslaught of
         violent attackers. Many of these officers were injured, bleeding, and fatigued, but
         they continued to hold the line. Testimony of USCP Sgt. Gonell, MPD Officer
         Fanone, USCP Officer Dunn, and MPD Officer Hodges: Hearing Before the House
         Select Comm. to Investigate the January 6th Attack on the United States Capitol,
         117 Cong. (July 27, 2021) (Statement of Officer Michael Fanone) available at
         https://www.c-span.org/video/?513434-1/capitol-dc-police-testify-january-6-
         attack.

         One of the most violent confrontations on January 6 occurred near an entrance to the

Capitol Building in the area known as the Lower West Terrace (“LWT”). The entrance usually

consists of a flight of stairs leading to a doorway. On January 6, 2021, however, the construction

of the inaugural stage converted the stairway into a 10-foot-wide, slightly sloped, short tunnel that

was approximately 15 feet long. That tunnel led to two sets of metal swinging doors inset with

glass. On the other side of the two sets of swinging doors is a security screening area with metal

detectors and an x-ray scanner and belt, that leads into the basement of the Capitol Building. The

exterior of the tunnel is framed by a stone archway that is a visual focal point at the center of the

West Front of the Capitol Building. This archway is also of great symbolic significance as it has

been the backdrop for nine presidential inaugurations, is draped in bunting during the event, and

is the entrance for the President-Elect and other dignitaries on Inauguration Day. See Figure A. 1




1
  Figure A is an image from the website “Inauguration at the U.S. Capitol”, Architect of the Capitol,
https://www.aoc.gov/what-we-do/programs-ceremonies/inauguration. The archway is circled in red.
                                                         5
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                                               Fig. A

       On January 6, 2021, when rioters arrived at the doors behind this archway, the outer set of

doors was closed and locked, and members of Congress who had fled from the rioters were

sheltering nearby. Members of the United States Capitol Police (“USCP”), assisted by officers

from the District of Columbia Metropolitan Police Department (MPD), were arrayed inside the

doorway and guarding the entrance. Many of these officers had already physically engaged with

the mob for over an hour, having reestablished a defense line here after retreating from an earlier

protracted skirmish on the West Plaza below.

       At approximately 2:42 p.m., the mob broke the windows to the first set of doors, and the

law enforcement officers reacted immediately by spraying Oleoresin Capsicum (“OC”) spray at

the rioters, who continued to resist. The mob continued to grow, and the rioters pushed their way

into the second set of doors, physically engaging law enforcement with batons, poles, chemical

spray, bottles and other items. Officers created a line in the doorway to block the rioters and

physically engaged them with batons and OC spray. At a later hearing on the events of January
                                            6
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6, Congressman Stephanie Murphy described her experience nearby this location in response to

testimony from MPD Officer Daniel Hodges, who was assaulted while caught in the tunnel doors

between the two forces:

       January 6th was an attack on our democracy, it was an attack on the peaceful transfer
       of power, and it was an attack on this Capitol building, but it was also an attack on
       real people. And most people don’t know this -- and I don’t think even you know
       this -- but your actions had a profound impact on me. So, at 3:00 p.m. on January
       6th, 2021, while you were holding back the mob at the Lower West Terrace
       entrance, I was holed up with Congresswoman Kathleen Rice in a small office
       about 40 paces from the tunnel that you all were in. That’s about from the distance
       where I’m sitting here on the dais to that back wall. And from that office in close
       proximity to where you all held the line, I listened to you struggle. I listened to
       you yelling out to one another. I listened to you care for one another, directing
       people back to the makeshift eyewash station that was at the end of our hall. And
       then, I listened to people coughing, having difficulty breathing, but I watched you
       and heard you all get back into the fight.” Testimony of USCP Sgt. Gonell, MPD
       Officer Fanone, USCP Officer Dunn, and MPD Officer Hodges: Hearing Before
       the House Select Comm. to Investigate the January 6th Attack on the United States
       Capitol, 117 Cong. (July 27, 2021) (Statement of Rep. Stephanie Murphy) available
       at https://www.c-span.org/video/?513434-1/capitol-dc-police-testify-january-6-
       attack.

The violent and physical battle for control over the LWT entrance in the tunnel and doorway area

continued for over two hours, during which time rioters repeatedly assaulted, threatened, pushed,

and beat law enforcement officers. The battle for the LWT entrance involved intense hand-to-

hand combat, and some of the most violent acts against law enforcement, including the abduction

and tasering of MPD Officer Michael Fanone and the previously-mentioned assault of Officer

Daniel Hodges.

       During this battle, the vastly outnumbered officers were assaulted with all manner of

objects and weapons, receiving blow after blow from rioters taking turns assaulting them, all in a

concerted effort to breach the doorway to the basement area of the Capitol, disrupt the certification,

and overturn the election results by force. Capitol Police Sgt. Aquilino Gonell, who was present

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in the tunnel that day, explained:

       What we were subjected to that day was like something from a medieval battle. We
       fought hand-to-hand, inch-by-inch to prevent an invasion of the Capitol by a violent
       mob intent on subverting our democratic process. My fellow officers and I were
       committed to not letting any rioters breach the Capitol. It was a prolonged and
       desperate struggle. Id. (Statement of Sgt. Aquilino Gonell)

Despite the mob’s efforts, the officers in the LWT held the line with commendable restraint, and

through personal sacrifice and valor.     MPD Officer Michael Fanone remembers one of his

colleagues’ actions that day:

       In the midst of that intense and chaotic scene, [MPD] Commander [Ramey] Kyle
       remained cool, calm, and collected as he gave commands to his officers. “Hold the
       line,” he shouted over the roar. Of course, that day, the line was the seat of our
       American government. Despite the confusion and stress of the situation, observing
       Ramey’s leadership, protecting a place I cared so much about, was the most
       inspirational moment of my life. The bravery he and others showed that day are the
       best examples of duty, honor, and service. Id. (Statement of Officer Michael
       Fanone)

Several officers sustained injuries during this prolonged struggle, and many returned to defend the

Capitol, even when injured, as substantial reinforcements for these officers did not arrive until

heavily armored Virginia State Police officers joined the police line with additional munitions

around 5 pm.

       Despite being under constant assault, these officers nevertheless provided first aid to

injured rioters who were trapped in the tunnel area, including those who had difficulty breathing

as a result of chemical irritants that had been used in the tunnel area. It is not an exaggeration to

state the actions of these officers in thwarting the mob at the LWT entrance potentially saved the

lives of others, including potential harm to members of Congress.

             Injuries and Property Damage Caused by the January 6, 2021 Attack

       The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

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grave danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir.

2021). Members of this Court have similarly described it as “a singular and chilling event in U.S.

history, raising legitimate concern about the security—not only of the Capitol building—but of

our democracy itself.” United States v. Cua, No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C. Mar.

10, 2021); see also United States v. Fox, No. 21-cr-108 (D.D.C. June 30, 2021) (Doc. 41, Hrg. Tr.

at 14) (“This is not rhetorical flourish. This reflects the concern of my colleagues and myself for

what we view as an incredibly dangerous and disturbing attack on a free electoral system.”); United

States v. Chrestman, No. 21-mj-218, 2021 WL 765662, at *7 (D.D.C. Feb. 26, 2021) (“The actions

of this violent mob, particularly those members who breached police lines and gained entry to the

Capitol, are reprehensible as offenses against morality, civic virtue, and the rule of law.”).

       In addition, the rioters injured more than a hundred members of law enforcement. See

Staff of Senate Committees on Homeland Security and Governmental Affairs and on Rules and

Administration Report, Examining the Capitol Attack: A Review of the Security, Planning, and

Response     Failures    on     January    6    (June     7,   2021),     at   29,    available   at

https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol

Attack.pdf (describing officer injuries). Some of the rioters wore tactical gear and used dangerous

weapons and chemical irritants during hours-long hand-to-hand combat with law enforcement

officers. See id. at 27-30. Other rioters, like Palmer, transformed ordinary objects, such as

sticks, flag poles, fire extinguishers and barricades, into dangerous weapons.

       Moreover, the rioters inflicted significant emotional injuries on law enforcement officers

and others on scene that day who feared for their safety. See id; see also Architect of the Capitol,

J. Brett Blanton, Statement before the House of Representatives Committee on House


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Administration (May 19, 2021), available at https://www.aoc.gov/sites/default/files/2021-

05/AOC_Testimony_CHA_Hearing-2021-05-19.pdf (describing the stress suffered by Architect

of the Capitol employees due to the January 6, 2021, attack).

       Finally, the rioters stole, vandalized, and destroyed property inside and outside the U.S.

Capitol Building. They caused extensive, and in some instances, incalculable, losses. This

included wrecked platforms, broken glass and doors, graffiti, damaged and stolen sound systems

and photography equipment, broken furniture, damaged artwork, including statues and murals,

historic lanterns ripped from the ground, and paint tracked over historic stone balustrades and

Capitol Building hallways. See id; see also United States House of Representatives Curator Farar

Elliott, Statement Before the House Appropriations Subcommittee on the Legislative Branch (Feb.

24, 2021), available at https://docs.house.gov/meetings/AP/AP24/20210224/111233/HHRG-117-

AP24-Wstate-ElliottF-20210224.pdf (describing damage to marble and granite statues). As set

forth in the Statement of Offense, the attack resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of more than $1.4 million. See PSR, ¶ 15.

       B. Palmer’s Role in the January 6, 2021, Attack on the Capitol

       Palmer traveled to Washington, D.C. by plane from his home near Tampa, Florida. After

attending the former President’s rally, Palmer made his way to the U.S. Capitol, wearing a “Florida

for Trump” hat and a jacket designed like the flag of the United States, earning him the nickname

on social media of “FloridaFlagJacket.”

       At approximately 4:00 p.m., Palmer, visible in his distinct clothing, was on the Upper West

Terrace, leaning over a railing, and holding a sign stating, “Biden is a Pedophile.” See Exhibit 1




                                                10
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at 2:22, 2:36, 2:58, 4:03, and 8:05. 2




                                                       Fig. B

         From his vantage point, Palmer had an excellent view of the rioters attacking the police

officers with pepper spray, metal rods and stolen riot shields, among other things, along with group

chants of “Pull the cops out!” and “Drag them out!” See, e.g., Exhibit 2 at :58 – 1:02, 1:29 – 1:32;

5:05 – 5:09, 8:02 – 8:46.3 See also Exhibit 1 at 1:40 – 24:42. Along with other rioters, Palmer

cheered on the violence, at one point raising his arm up in the air in support as rioters shoved a

large flagpole into the tunnel. See, e.g., Exh. 2 at :36 - :44.




2
  Exhibit 1 is a publicly available video entitled “DC 1 6 21(2)” available at https://youtu.be/zcRFEYnHWyM.
Figure B is a screenshot from 2:58 into the video.
3
  Exhibit 2 is a publicly available video entitled “That’s One Big Flag! / The Storm Arrived Pt. 7” available at
https://youtu.be/NUoBiRXZs5Q. Figure C is a screenshot from :37 into the video.
                                                         11
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                                                        Fig. C

At approximately 4:30 p.m., Palmer was still at the railing, watching as one of the MPD officers

was pulled out of the LWT tunnel and attacked by rioters. See Exhibit 3. 4




                                                        Fig. D

         Deciding that cheering on the violence was not enough, Palmer chose to make it worse.

By approximately 4:50 p.m., Palmer had come down to the LWT and was heading towards the

tunnel. As he approached, Palmer saw other rioters assaulting police with items such as baseball


4
  Exhibit 3 is a publicly available video entitled “Officer pulled into crowd Capitol Protest/Riot 1/6/21” available at
https://youtu.be/FjV7dNQEMcY. Figure D is a screenshot from :03 into the video.
                                                          12
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bats, helmets, batons, traffic barriers, pepper spray, wooden and metal poles, table legs and a

wooden drawer. See, e.g., Exhibit 4 at :17 - 4:00. 5 The scene at the tunnel as Palmer approached

is shown in Figure E.




                                                     Fig. E

        At approximately 4:54 p.m., Palmer was on the steps leading to the LWT tunnel, having

acquired a wooden plank. He threw the plank like a spear at the officers, and it landed atop a riot

shield the police were holding over themselves. See Exhibit 5 at :47 - :51. 6 See also Exh. 4 at

4:29-4:33.




5
  Exhibit 4 is a video obtained from the cellphone of another Capitol Riot defendant, in a file called
IMG_1610.mov. Figure E is a screenshot from 3:51 into the video.
6
  Exhibit 5 is a publicly available video from Getty Images, designated with the number 1295311711. Figure F is a
screenshot from :48 into the video.
                                                       13
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                                                 Fig. F

Palmer next moved up the steps, towards the officers, and joined the front line of rioters attacking

the police. At approximately 4:54 p.m., another rioter sprayed a fire extinguisher at the police.

See Exh. 4 at 5:31-5:35. After the cloud of particles cleared, Palmer retrieved the fire extinguisher

and emptied its contents at the officers. See Exh. 1, at 26:07 (Figure G); see also Exh. 4 at 5:51-

5:56.




                                                 Fig. G

        Once the fire extinguisher was empty, as other rioters continued their attacks, Palmer threw

the fire extinguisher at the officers, and it hit one of their riot shields before dropping to the ground.

See Exh. 1, at 26:14 (Figure H); see also Exh. 4 at 5:56-6:05. The video shows that no law
                                                   14
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enforcement officer had touched or even threatened to touch Palmer prior to these attacks.




                                                     Fig. H

        At approximately 4:56 p.m., Palmer cast around for additional items with which he could

assault the police. He took hold of a long piece of scaffolding wrapped in canvas and pushed it

at the legs of the police. He picked up the fire extinguisher he had just thrown and threw it again

at the police. He picked up an orange traffic barrier and threw it towards the police, missing them.

See Exhibit 6; 7 see also Exh. 4 at 6:22-24.




                                                          Fig. I

        Palmer has admitted that based on the size and weight of the plank and the fire extinguisher,



7
  Exhibit 6 is a clip of body-worn camera footage from an officer inside the LWT tunnel. Figure I is a screenshot
from :10 into the video clip.
                                                        15
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and the speed and force with which they were thrown, these objects were capable of inflicting

serious bodily injury. See Statement of Offense, ¶ 10; PSR at ¶¶ 19. Fortunately, however, no

law enforcement officer appear to have suffered any bodily injury as a direct result of Palmer’s

conduct.

        Shortly thereafter, Palmer retreated from the tunnel, apparently as a result of OC spray.

See Figure J; 8 see also Exh. 4 at 6:34. Note that any OC spray occurred after Palmer’s attacks

on law enforcement.




                                                  Fig. J

        By approximately 5:10 p.m., officers had cleared rioters out of the LWT and were making

efforts to clear rioters out of the Upper West Plaza, which is below the LWT. Figure K shows the

relative locations of the LWT and the Upper West Plaza. 9




8
 Figure J is a publicly available photo taken by photographer Lev Radin, designated DSC09712.
9
 Original map publicly available at https://drive.google.com/u/0/uc?id=1aQFDTYoTsYLRJ3qbPS7-
4uMKEWtM6iRQ&export=download and credited to @ne0ndistraction and @SansaStark525.
                                                    16
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                                                     Fig. K

        Undeterred by the events on the LWT, Palmer continued to confront police while on the

Upper West Plaza.

        At approximately 5:14 p.m., Virginia State Police (“VSP”) officers occupied an elevated

platform on the Upper West Plaza and were assisting with the task of clearing rioters. At

approximately 5:15 p.m., on the Upper West Plaza, Palmer obtained a stick or pole, approximately

4-5 feet long. See Exhibit 7 at :12 - :16. 10




                                                     Fig. L


10
   Exhibit 7 is a clip from a Closed Circuit Video (“CCV”) camera on the Capitol grounds. Figure L is a screenshot
from :13 into the video clip.
                                                       17
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         With the pole in hand, Palmer approached a group of VSP officers. Id. at :16 - :25. As

he approached, the officers gave him direct commands to drop the pole. Palmer ignored the

warnings, even after one officer pointed his flashlight, which was attached to the officer’s “less

than lethal” weapon, at Palmer. Palmer continued to approach, screaming obscenities at the

police, and continuing to ignore direct warnings. When he got close, Palmer threw the pole like

a spear at the officers. As Palmer did so, one of the VSP officers fired a projectile, a 40mm “less

than lethal munition,” hitting Palmer in the abdomen. See Exhibit 8 at :36. 11 The pole struck the

platform below where the VSP officers stood. 12




                                                      Fig. M

After being hit with the projectile, Palmer retreated, and lay down on the West Plaza. See Figure

N. 13 See also Exh. 8 at :36 – 1:11.




11
   Exhibit 8 is a clip from a CCV camera atop the Capitol. Figure M is a screenshot from :24 into the clip.
12
   While Palmer has not been charged with this additional assault on law enforcement, it is relevant conduct that the
Court should consider in determining the appropriate sentence. See U.S.S.G. § 1B1.3.
13
   Figure N is a publicly available photo taken by photographer Lev Radin and designated CQ8T6502.
                                                         18
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                                                      Fig. N

        Palmer arose a few minutes later and began showing off his injury. Attempting to portray

himself as the victim, rather than the aggressor, Palmer pointed at his abdomen, shouting, “This is

the United States. This is what our country is doing to its citizens.” See Exhibit 9 at :07 –:11.14




                                                      Fig. O

        Palmer was then interviewed by a camera crew on the West Plaza. Palmer again showed

the bruise on his abdomen and again lied about the circumstances of his injury, claiming he had



14
   Exhibit 9 is a publicly available YouTube video entitled “Rubber Bullets Fired Outside the U.S. Capitol” found at
https://youtu.be/jvEWD5aoyws. Figure O is a screenshot from :08 into the video.
                                                        19
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been shot with a rubber bullet just for “yelling at them” and that they shot him for “nothing,

absolutely nothing.” See Exhibit 10 at :09 - :17. 15 Palmer also admitted his purpose in attacking

the police on January 6 was to keep the losing presidential candidate in power and somehow

replace the Vice President. When asked what his “best case scenario” would be, Palmer said that

it would be to “call in the military” and that “Trump does not step down.” When asked how the

situation could be “made right,” Palmer said “Keeping Trump in office” and getting a “new Vice

President” who had “pardon the expression, balls. OK. Call in the military.” See id. at :25 -

:47. These statements, taken in the context of what actually happened on January 6, 2021, when

Palmer and so many others engaged in violence directed at influencing Government action, cannot

be ignored.




                                                     Fig. P

On March 4, 2021, after Palmer had been identified by an online sleuth, Palmer was contacted by

a reporter for the Huffington Post. Palmer told the reporter he had done nothing to justify being




15
   Exhibit 10 is an excerpt from a publicly available video entitled “1_06_21 Full LIVE #1_ Tear Gas and Flash
Bangs Used to End US Capital Occupation, WA DC”, available at https://youtu.be/IXT0AKtYjSg Figure P is a
screenshot from :22 into the video excerpt. Note that an individual with a megaphone was speaking near the
recording device, and sometimes drowns out Palmer’s audio.
                                                       20
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struck with a police munition. He also told the reporter “I didn’t do anything wrong.” 16

         Palmer pled guilty on October 4, 2021 and was remanded into custody. Thereafter,

Palmer instructed a friend to put a post on a website called “GiveSendGo.com” seeking donations

from the public. In the post, among other things, Palmer stated “[w]hile protesting the election I

was shot at with rubber bullets and sprayed with tear gas. I didn’t even go through the barricade

into the capitol. I did, however, go on the defense and throw a fire extinguisher at the police as I

could not believe they had just shot me.” See PSR ¶ 28; Figure Q (emphasis added); 17 A

November 2, 2021, jail call demonstrates that Palmer approved the language of this post, including

specifically the references to going “on the defense” and “they had just shot me.” While Palmer

corrected details such as the amount of legal fees, he made no other changes to the language, and

then asked for the post to be disseminated as much as possible, despite the friend’s suggestion that

he wait until after sentencing because the post could made it look like he was “not remorseful.”

See Exhibit 11 at 1:12 - 8:00. 18




16
   Ryan J. Reilly and Jesselyn Cook, “Revealed: The Star-Spangled Trumper Filmed Attacking Cops At The
Capitol” dated March 5, 2021, and updated on March 19, 2021, found at https://www.huffpost.com/entry/robert-
palmer-capitol-attack-sedition-hunters.
17
   Figure Q is a redacted screenshot from the website https://www.givesendgo.com/HelppatriotrobP (last visited
November 12, 2021).
18
   Exhibit 11 is a consensually monitored jail call between Palmer and a friend on November 2, 2021 at
approximately 5:42 p.m. In a November 6, 2021 jail call, Palmer was even more explicit, telling a friend that “I
was attacked first” and “by the time I got there, the police were just, like, attacking everybody.” See Exhibit 12
(November 6 jail call) at 9:45 – 10:29.
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                                                Fig. Q

Subsequent to the Probation department’s issuance of the draft pre-sentence report on November

12, 2021, the post was taken down. Based on defense counsel’s representation that all funds

raised on the website have been returned—a representation that investigation has corroborated—

the Government is not recommending a fine as part of the sentence.

   III.      PROCEDURAL BACKGROUND

          The Department of Justice began its investigation into the attack on the U.S. Capitol mere

hours after the breach occurred on January 6, 2021. As of December 10, 2021, the Department

has brought charges by complaint, information, or indictment against approximately 697

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defendants. The charges range from Obstruction of an Official Proceeding, in violation of 18

U.S.C. § 1512(c)(2), and Assaulting, Resisting or Impeding Law Enforcement, in violation of 18

U.S.C. § 111(a) and (b), to Entering and Remaining in a Restricted Building or Grounds, in

violation of 18 U.S.C. § 1752(a) and Parading, Demonstrating, or Picketing in a Capitol Building,

in violation of 40 U.S.C. § 5104(e). Of those defendants, as of December 10, 2021, at least 138

have pleaded guilty to misdemeanor charges and at least 23 have pleaded guilty to felony charges.

         On March 12, 2021, Palmer was charged by complaint with violating 18 U.S.C. §§

111(a)(1) and (b), 231(a)(3), 2, and 1752(a)(1), (2), and (4) and (b)(1)(A). On March 17, 2021,

voluntarily surrendered to law enforcement. On April 28, 2021, a federal grand jury indicted

Palmer and charged him with the same crimes as well as violations of 40 U.S.C. §§ 5104(e)(2)(D)

and (F). In late July, Palmer, through counsel, indicated a desire to plead guilty. As noted, his

guilty plea was entered on October 4, 2021, and Palmer was remanded into custody.

   IV.      STATUTORY PENALTIES

         The defendant now faces sentencing on a single count of 18 U.S.C. § 111(b). As noted by

the plea agreement and the U.S. Probation Office, the defendant faces up to 20 years of

imprisonment, a fine up to $250,000, and a term of supervised release of not more than three years.

   V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         A. Offense Level Computation

         As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark” for determining a defendant’s sentence.


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Id. at 49. The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product

of careful study based on extensive empirical evidence derived from the review of thousands of

individual sentencing decisions” and are the “starting point and the initial benchmark” for

sentencing. Id. at 49.

         The government agrees with the Sentencing Guidelines calculation set forth in the PSR. 19

According to the PSR, the U.S. Probation Office calculated Palmer’s adjusted offense level under

the Sentencing Guidelines as follows:

         U.S.S.G. § 2A2.2(a)                          Base Offense Level                                     [14] 20
         U.S.S.G. § 2A2.2(b)(2)(B)                    Use of Dangerous Weapon                                [+4]
         U.S.S.G. § 2A2.2(b)(7)                       Violation of 111(b)                                    [+2]
         U.S.S.G. § 3A1.2(b)                          Official Victim                                        [+6]

                                                                                  Total                      [26]
See PSR at ¶¶ 33-43.

         B. The Acceptance of Responsibility Reduction is not Warranted

         The Probation Office determined that the adjustment for acceptance of responsibility is not

warranted due to the contents of Palmer’s post-plea fundraising post, particularly his references to

his conduct in the instant offense. See PSR at ¶¶ 31-32, 42. The government agrees.

         U.S.S.G. § 3E1.1(a) provides that if a defendant “clearly” demonstrates acceptance of

responsibility for his offense, the offense level can be decreased by two levels. If a defendant

qualifies under § 3E1.1(a), for offense levels of 16 or more, an additional 1 level decrease is

available upon the government’s motion. See U.S.S.G. § 3E1.1(b).


19
    Based on the facts and circumstances of Palmer’s case, the government does not seek imposition of an upward
departure pursuant to U.S.S.G. § 3A1.4, n.4 (see Plea Agreement at ¶5(C)), because a sentence within the Guidelines
range as determined in the PSR is sufficient, but not greater than necessary, to comply with the purposes of sentencing
as set forth in 18 U.S.C. § 3553(a)(2).
20
   The starting point for a violation of 18 U.S.C. § 111 is U.S.S.G. § 2A2.4. Because the conduct constituted
aggravated assault, the cross-reference in U.S.S.G. § 2A2.4(c)(1) requires the application of U.S.S.G. § 2A2.2.
                                                         24
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        While entry of a guilty plea and admitting the conduct comprising the offense of conviction

and all relevant conduct is “significant” evidence of acceptance of responsibility, such evidence

can be outweighed by “conduct of the defendant that is inconsistent with such acceptance of

responsibility.” See U.S.S.G. § 3E1.1, cmt. 3. For that reason, the Sentencing Guidelines

specifically state that “[a] defendant who enters a guilty plea is not entitled to an adjustment under

[§ 3E1.1] as a matter of right.” Id.

        For the same reason, Palmer’s plea agreement requires that he demonstrate acceptance of

responsibility not just at the time of his plea, but also during the period between his plea and his

sentencing. The agreement specifically states that the government would only agree to the 2-level

reduction of § 3E1.1 if Palmer “clearly demonstrates acceptance of responsibility, to the

satisfaction of the Government, through [his] allocution, adherence to every provision of this

agreement, and conduct between entry of the plea and imposition of the sentence.”                                 Plea

Agreement, at 3 (emphasis added). 21

        Courts routinely deny the acceptance of responsibility reduction to defendants whose post-

plea conduct belies their claims of contrition, such as when they attempt to blame others for their

conduct. For example, in United States v. Wineman, 625 F.3d 536 (8th Cir. 2010), the defendant

pled guilty to a drug conspiracy. Twenty days after his guilty plea, however, the defendant created

an internet post in which he blamed his crime on the “addicts” who bought his products and the

officials who denied him disability benefits, thus necessitating his drug dealing. Id. at 537-38.

The sentencing court found that the internet post was “inconsistent with any acceptance of

responsibility” by the defendant. Id. at 539. See also United States v. Godfrey, 863 F.3d 1088


21
   The plea agreement goes on to note that the additional 1-level reduction would only be appropriate if Palmer
clearly accepted responsibility to the satisfaction of the government. Id.
                                                        25
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(8th Cir. 2017) (defendant denied acceptance reduction based on repeated post-plea false

statements claiming to have acted in self-defense or to have discharged firearm in air, claims which

were contradicted by surveillance video and physical evidence); United States v. Jeffries, 569 F.3d

873 (8th Cir. 2009) (defendant who pled guilty to abusive sexual conduct denied acceptance

reduction based on letters to probation office and sentencing judge denying any use of force and

claiming that the relationship was consensual); United States v. Guerrero, 768 F.3d 351 (5th Cir.

2014) (defendant convicted of assaulting corrections officer denied acceptance reduction for

telling probation that he felt the officer “disrespected” him and that “men have to understand the

consequences of disrespecting another man”).

         Palmer’s fundraising post warrants the denial of the acceptance reduction.                            It is

demonstrably false – Palmer was shot with the non-lethal ammunition after his attacks on law

enforcement, and none of his assaults on law enforcement, including his assault with the fire

extinguisher, were defensive. (As a falsity transmitted by wire, Palmer has arguably also engaged

in post-plea “additional criminal conduct”—that is wire fraud in violation of 18 U.S.C. § 1343—

that provides an additional basis not to apply any reduction for acceptance of responsibility. See

Plea Agreement, at 3.)        More importantly, the fundraising post demonstrates a complete lack of

remorse.     On January 6, Palmer attacked the police without any provocation.                        He was the

aggressor. Blaming the police for his own choices and falsely claiming that he was acting

“defensively” is flatly inconsistent with Palmer taking responsibility for his actions. 22


22
  Palmer’s post-plea conduct denying responsibility for his crimes on January 6 alters his Guidelines range from
46-57 months (with a three-level reduction under U.S.S.G. §3E1.1) to 63-78 months (with no reduction under
U.S.S.G. §3E1.1). As discussed infra, the number of aggravating factors in Palmer’s case would typically warrant a
mid- to high-end Guidelines sentence. Given the substantial increase to the Guidelines range that results from not
applying any reduction for acceptance of responsibility, a sentence at the low-end of the 63-78 range is “sufficient,
but not greater than necessary” to fulfill the purposes of sentencing in 18 U.S.C. § 3553(a)(2). If the Court instead
accords Palmer a two-level reduction for acceptance of responsibility, the government will not move for the third
                                                        26
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           The Probation Office calculated Palmer’s criminal history as a category I, which is not

disputed.      PSR at ¶ 50.      Accordingly, the government agrees with the Probation Office’s

calculation that Palmer’s total offense level is 26, and his corresponding Guidelines imprisonment

range is 63-78 months. PSR at ¶¶ 111. Palmer’s plea agreement contains an agreed-upon

Guidelines range calculation that mirrors the Probation Office’s calculation.

     VI.      SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

           In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct,

§ 3553(a)(6). As described below, all of the Section 3553(a) factors weigh in favor of a lengthy

term of incarceration.

A.         Nature and Circumstances of the Offense

           The attack on the U.S. Capitol on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one

of the only times in our history when the building was literally occupied by hostile participants.

By its very nature, the attack defies comparison to other events.

           While each defendant should be sentenced based on his or her individual conduct, each

individual who participated in the riot did so under the most extreme of circumstances, to which



acceptance point under U.S.S.G. § 3E1.1(b), and anticipates changing its low-end recommendation.
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their conduct directly contributed. Anyone who made it to the Capitol would—at a minimum—

have crossed through numerous barriers and barricades, heard the throes of a mob, and smelled

chemical irritants in the air. Depending on the timing and location of their approach, in addition

to their own acts of violence, they likely would have observed other extensive fighting with law

enforcement.

       While looking at the defendant’s individual conduct, we must assess such conduct on a

spectrum. This Court, in determining a fair and just sentence on this spectrum, should look to a

number of critical factors, to include: (1) whether, when, how the defendant entered the Capitol

building; (2) whether the defendant engaged in any violence or incited violence; (3) whether the

defendant engaged in any acts of property destruction; (4) the defendant’s reaction to acts of

violence or destruction; (5) whether during or after the riot, the defendant destroyed evidence; (6)

the length of the defendant’s time inside of the building, and exactly where the defendant traveled;

(7) the defendant’s statements in person or on social media; (8) whether the defendant cooperated

with, or ignored, law enforcement; and (9) whether the defendant otherwise exhibited evidence of

remorse or contrition. While these factors are not exhaustive nor dispositive, they help to place

each individual defendant on a spectrum as to their fair and just punishment.

       As set forth in the Statement of Offense, Palmer and the other rioters successfully shut

down the certification of the electoral vote count for several hours, as members of Congress and

their staff were forced to take shelter from the violence. As noted above, the rioters injured over

a hundred law enforcement officers and terrified individuals on scene that day, leaving significant

emotional scars. They destroyed over $1.4 million in property. This number understates the

extent of the property damage, as it does not include the irreparable and unquantifiable damage to


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artwork, statues, and other artifacts that were stolen or damaged.

       The nature and circumstances of the Defendant’s crimes weigh heavily towards a

significant term of incarceration. Palmer purposefully joined a large group of rioters with the

specific intent of interfering with the nation’s electoral process. In doing so, Palmer and others

not only imperiled core democratic functions but also collectively caused enormous emotional,

physical, and financial injuries along the way.

       Like every other rioter, Palmer contributed to the collective threat to democracy, physical

safety, emotional well-being, and property on January 6, 2021. But Palmer is among the most

serious offenders because Palmer repeatedly chose to use violence. Palmer, like every other

person in this country, has the right to peaceably assemble and protest. What he cannot do is use

violence against officers defending the Capitol in order to stop Congress from certifying the results

of a lawful election.

       While Palmer may have come to D.C. as a protester, he chose to become a violent rioter.

Palmer’s assaults were not spontaneous; they came after at least an hour of watching other rioters

assaulting the police, seeing that the police were outnumbered and surrounded. Palmer did not

stumble into a bad situation; knowing exactly what was happening to the officers in the LWT

tunnel, Palmer chose to get closer and physically attack. There was nothing “defensive” about

his conduct. His attacks were deliberate and premeditated, took place over an extended period of

time, and cannot be ascribed to the heat of the moment.

       Nor did Palmer stop at one attack. He chose to engage in violence repeatedly, and even

after the OC spray. Moreover, unlike the rioters who assaulted law enforcement with their hands,

Palmer chose to use dangerous weapons capable of causing serious bodily injury.


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           Finally, Palmer’s violence was in pursuit of his political goal of subverting a democratic

election and the peaceful transition of power.

           Palmer’s actions on January 6 did not just violate the law, they showed an absolute

disregard for the rule of law. Accordingly, the nature and circumstances of the offense amply

support the recommended 63-month sentence.

B.            The History and Characteristics of the Defendant

           As set forth in the PSR, Palmer has a number of criminal convictions for Petit Theft, DUI,

Battery, Organized Fraud, and Grand Theft. Due to the age of these convictions, he has no

criminal history points, but the number and nature of these convictions demonstrate a propensity

for deceptive conduct and a history of a violating the law.

           More recently, Palmer’s statements – both on January 6 and up to the present -- suggest a

distinct lack of remorse for his conduct, a tenuous relationship with truth, and a willingness to

repeat falsehoods for personal benefit. While Palmer is, of course, free to express his beliefs, he

is not free from the consequences of those statements when they bear directly on the appropriate

sentence in this case.

           Within minutes of his final assault on law enforcement on January 6, Palmer was loudly

proclaiming to anyone who would listen that he had been shot “just for yelling” at the police.

Palmer knew this was false – the VSP officer who fired at him did so only because Palmer was

attacking with a 4-5 foot pole and had refused repeated direct commands to stay away from the

officer.

           Two months later, Palmer repeated these falsehoods when interviewed by the press,

claiming that he had done “nothing” to justify having been shot and had “done nothing wrong”


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during the riot.

        Palmer’s falsehoods continued even after his guilty plea. In his fundraising post, Palmer

falsely asserts that he threw the fire extinguisher at the police as a reaction to having been shot by

them. But Palmer’s assault with the fire extinguisher occurred well before he was shot. More

importantly, Palmer’s conduct was not “defensive” – nothing provoked his attacks on law

enforcement other than his own anger.

        Palmer has not simply confused the sequence of events. Palmer’s fundraising post is just

the latest in a series of lies Palmer has told to portray himself as a victim, rather than an aggressor,

on January 6. That he continued telling these lies, even after pleading guilty, in order to persuade

people to donate money to him reflects poorly on his character and is inconsistent with an

acceptance of responsibility.

        To his credit, Palmer has had stable employment and has complied with his conditions of

release. The government also notes that Palmer consented to a search of his cellphone and

provided a full confession to federal agents when they interviewed him after his arrest. Most

importantly, through his attorney, Palmer expressed his desire to plead guilty relatively quickly

and was one of the first felony defendants to do so. For these reasons, the government is

recommending a sentence at the low end of the applicable guideline range. 23

C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense and
        Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6



23
  As noted above, see note 22 supra, a low-end Guidelines sentence would be inappropriately lenient if the Court
applies a reduction for acceptance of responsibility under U.S.S.G. § 3E1.1.
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showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 24 As with the nature and circumstances of the offense,

this factor supports a significant sentence of incarceration. As Palmer entered the Capitol grounds

and watched law enforcement officers being assaulted, it was abundantly clear to him that

lawmakers, and the law enforcement officers who tried to protect them, were under siege by others

similarly willing to use force to undermine the election.                Law enforcement officers were

overwhelmed, outnumbered, and in some cases, in serious danger.                       Palmer directly, and

physically, added to that danger by his use of violence. Assaulting law enforcement officers with

a dangerous weapon is the epitome of disrespect for the law.

        Moreover, by the time Palmer arrived in Washington, D.C., Palmer was aware not only

that his preferred candidate had lost the election, but that legal challenges had been rejected by the

courts of the various states and the United States. In this context, Palmer’s statements regarding

a desire for the military to intervene in the election demonstrate his awareness that that the only

way to keep his preferred candidate in power was through the use of force, a desire completely

antithetical to democracy and the rule of law.

        The government submits that this factor also requires a lengthy sentence of imprisonment.

A lesser sentence would suggest to the public, in general, and other rioters, specifically, that

assaults on police officers are not taken seriously. In this way, a lesser sentence could encourage

further abuses. See Gall, 552 U.S. at 54 (it is a “legitimate concern that a lenient sentence for a

serious offense threatens to promote disrespect for the law”).



24
   Federal Bureau of Investigation Director Christopher Wray, Statement before the House Oversight and Reform
Committee (June 15, 2021), available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20 Testimony.pdf
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D.        The Need for the Sentence to Afford Adequate Deterrence

           Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                               General Deterrence

           A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. § 3553(a)(2)(B). The need to deter others is especially strong in cases

involving domestic terrorism, which the breach of the Capitol certainly was. 25 The demands of

general deterrence weigh strongly in favor of incarceration, as they will for nearly every case

arising out of the violent riot at the Capitol. The violence at the Capitol on January 6 was

cultivated to interfere, and did interfere, with one of the most important democratic processes we

have: the transfer of power. As noted by Judge Moss, during sentencing in United States v. Paul

Hodgkins, 21-cr-188-RDM:

           [D]emocracy requires the cooperation of the governed. When a mob is prepared to
           attack the Capitol to prevent our elected officials from both parties from performing
           their constitutional and statutory duty, democracy is in trouble. The damage that
           [the defendant] and others caused that day goes way beyond the several-hour delay
           in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was

seven months ago for the United States and our diplomats to convince other nations to pursue

democracy. It means that it will be harder for all of us to convince our children and our

grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70.


25
     See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).
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       The gravity of these offenses demands deterrence. This was not a protest. See id. at 46

(“I don’t think that any plausible argument can be made defending what happened in the Capitol

on January 6th as the exercise of First Amendment rights.”). And it is important to convey to

future rioters and would-be mob participants—especially those who intend to improperly influence

the democratic process—that their actions will have consequences. There is possibly no greater

factor that this Court must consider.

                                        Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration.       While Palmer did voluntarily

surrender to law enforcement, it is worth noting that this did not occur until after he had been

publicly identified, contacted by the media, and knew he would face criminal consequences. See

United States v. Matthew Mazzocco, 21-cr-54 (TSC), Tr. 10/4/2021 at 29-30 (“[The Defendant’s]

remorse didn't come when he left that Capitol. It didn’t come when he went home. It came when

he realized he was in trouble. It came when he realized that large numbers of Americans and

people worldwide were horrified at what happened that day. It came when he realized that he

could go to jail for what he did. And that is when he felt remorse, and that is when he took

responsibility for his actions.”) (statement of Judge Chutkan).

       Though Palmer’s letter to the Court claims that he now realizes that he was lied to by the

former President and others about a stolen election, there is good reason to be skeptical of such

“eleventh hour” conversions. Palmer does not explain what caused this complete reversal in his

worldview, nor does he identify any new information that was not available to him when he

committed his crime. In light of Palmer’s fundraising post and jail calls blaming the police for


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his conduct on January 6, there is a significant likelihood that Palmer is simply telling the Court

what he thinks it wants to hear, and that he would engage in violence in the future if fed similar

lies to those which motivated him on January 6.

E.     The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita, 551

U.S. at 349. As required by Congress, the Commission has “‘modif[ied] and adjust[ed] past

practice in the interests of greater rationality, avoiding inconsistency, complying with

congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007);

28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its

determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101. As the Third Circuit has stressed:

       The Sentencing Guidelines are based on the United States Sentencing
       Commission=s in-depth research into prior sentences, presentence investigations,
       probation and parole office statistics, and other data. U.S.S.G. § 1A1.1, intro,
       comment 3. More importantly, the Guidelines reflect Congress=s determination of
       potential punishments, as set forth in statutes, and Congress=s on-going approval of
       Guidelines sentencing, through oversight of the Guidelines revision process. See
       28 U.S.C. § 994(p) (providing for Congressional oversight of amendments to the
       Guidelines). Because the Guidelines reflect the collected wisdom of various
       institutions, they deserve careful consideration in each case. Because they have
       been produced at Congress's direction, they cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

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sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that Asignificantly increases the likelihood that the sentence is a reasonable

one.”   Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that might

achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

        Here, while the Court must balance all of the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged a considerable number of persons with crimes based on the

January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

Guidelines analysis. In order to reflect Congress’s will – the same Congress that served as a

backdrop to this criminal incursion – the Guidelines will be a powerful driver of consistency and

fairness moving forward.

F.      Unwarranted Sentencing Disparities

        Finally, as to 18 U.S.C. § 3553(a)(6) – the need to avoid unwarranted sentencing disparities

– the crimes that Palmer and others like him committed on January 6 are unprecedented. These

crimes defy statutorily appropriate comparisons to other assaults on law enforcement in other

cases. To try to mechanically compare other defendants prior to January 6, 2021, would be a

disservice to the magnitude of what the riot entailed and signified.

        As of the date of this sentencing memorandum, very few felony Capitol Riot defendants

have been sentenced. In the first such case, United States v. Paul Hodgkins, 21-cr-188 (RDM),

the defendant entered the Capitol and reached the floor of the Senate. Hodgkins took very early

responsibility for his actions, and he did not commit violence on January 6. Hodgkins was


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sentenced to 8 months incarceration, based on a sentencing range of 15-21 months.             More

recently, in United States v. Chansley, 21-CR-3 (RCL), the so-called “QAnon Shaman” Chansley

climbed a tower on the way into the Capitol, was one of the first rioters to enter the Capitol,

challenged law enforcement officers who wanted them to leave, entered the Senate chamber and

left a threatening note for the Vice President. However, Chansley did not assault any law

enforcement officers. Based on a sentencing range of 41-51 months, Chansley was sentenced to

41 months imprisonment.

       A more relevant comparator is United States v. Fairlamb, 21-cr-120 (RCL), in which the

defendant was convicted of one count of 18 U.S.C §1512(c)(2) and one count of 18 U.S.C. §

111(a). There, the government sought a 44-month sentence, and the Court imposed a 41-month

sentence. Fairlamb stormed the police line on the West Terrace, where he acquired, but never

used, a police baton. Fairlamb then entered the U.S. Capitol building, but almost immediately

exited. At one point, Fairlamb sought to assist law enforcement officers. Approximately ten

minutes later, Fairlamb encountered law enforcement officers attempting to keep rioters from

entering the building through the Parliamentarian door. Subsequently, still on the Terrace outside

the Capitol, Fairlamb assaulted a member of law enforcement with his hands, striking him in his

face shield. Unlike Fairlamb, Palmer engaged in repeated assaults on law enforcement, acquired

and used dangerous weapons, and never sought to assist law enforcement. Though Fairlamb used

the same fundraising site as Palmer, Fairlamb did not lie about his conduct or deny his culpability,

so Fairlamb’s sentencing range included a reduction for acceptance of responsibility. For all of

these reasons, Palmer’s violation of 18 U.S.C. § 111(b) warrants a higher sentence, and a guideline

sentence of 63 months would not create an unwarranted sentencing disparity.


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     VI.      RESTITUTION

           The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” 26 United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011). Generally, restitution under the VWPA must “be tied to the

loss caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990),

identify a specific victim who is “directly and proximately harmed as a result of” the offense of

conviction, 18 U.S.C. § 3663(a)(2), and is applied to costs such as the expenses associated with

recovering from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes

a court to impose restitution “in any criminal case to the extent agreed to by the parties in a plea

agreement.” See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79

(D.C. Cir. 2008).

           Those principles have straightforward application here. Although Palmer engaged in

assaultive conduct, that conduct fortunately did not result in bodily injury to any victim. The

parties agreed, as permitted under 18 U.S.C. § 3663(a)(3), that Palmer must pay $2,000 in

restitution to the Architect of the Capitol, which reflects in part the role he played in the riot on

January 6. 27 Plea Agreement at ¶ 12. As the plea agreement reflects, the riot at the United States

Capitol had caused “approximately $1,495,326.55” in damages, a figure based on loss estimates

supplied by the Architect of the Capitol in mid-May 2021. Id. Palmer’s restitution payment must


26
  The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at 18 U.S.C. § 3663A),
which “requires restitution in certain federal cases involving a subset of the crimes covered” in the VWPA, Papagno,
639 F.3d at 1096, does not apply here. See 18 U.S.C. § 3663A(c)(1).
27
   Unlike under the Sentencing Guidelines for which (as noted above) the government does not qualify as a victim,
see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can be a “victim” for purposes of the VWPA.
See United States v. Emor, 850 F. Supp.2d 176, 204 n.9 (D.D.C. 2012) (citations omitted).
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be made to the Clerk of the Court, who will forward the payment to the Architect of the Capitol.

See PSR ¶ 136.

                                        CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of imprisonment of 63 months, which is the low point of the Guidelines range as

calculated by the U.S. Probation Office and as agreed upon by the parties in the plea agreement.

                                             Respectfully submitted,

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